                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

DEATH AND TAXES, LLC, d/b/a Death &                )
Taxes and Bridge Club, ASPIC, INC., d/b/a          )
Poole’s Diner, ABC CORNERSHOP, INC.,               )
d/b/a Beasley’s Chicken + Honey, Chuck’s           )
Burgers and Fox Liquor Bar, POOLE’SIDE, LLC,       )
d/b/a Poole’side Pies, and AUX KITCHEN, LLC,       )
                                                   )
                             Plaintiffs,           )
                                                   )      JUDGMENT IN A
                                                   )      CIVIL CASE
v.                                                 )      CASE NO. 5:21-CV-125-D
                                                   )
THE CINCINNATI INSURANCE COMPANY,                  )
                                                   )
                             Defendant.            )


Decision by Court. This action came before this Court for ruling as follows.
IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS defendant’s
motion to dismiss [D.E. 16], DENIES as moot plaintiffs’ motion to stay [D.E. 19], and
DISMISSES WITH PREJUDICE plaintiffs’ complaint [D.E. 1] Additional amendments
would be futile.
This case is closed

This Judgment Filed and Entered on February 2, 2022, and Copies To:
Stuart Paynter                                            (via CM/ECF electronic notification)
Gagan Gupta                                               (via CM/ECF electronic notification)
Andrew Vanore, III                                        (via CM/ECF electronic notification)
Skylar Gallagher                                          (via CM/ECF electronic notification)
Michael Baniak                                            (via CM/ECF electronic notification)


DATE:                                              PETER A. MOORE, JR., CLERK
February 2, 2022                                   (By) /s/ Lindsay Stouch
                                                    Deputy Clerk




            Case 5:21-cv-00125-D Document 35 Filed 02/02/22 Page 1 of 1
